        Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 1 of 9


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 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                              CASE NOS. CR F 05-0179 LJO and CV F 09-
                                                            1895 LJO
12                          Plaintiff,
                                                            ORDER ON DEFENDANT’S 28 U.S.C. § 2255
13          vs.                                             PETITION TO VACATE, SET ASIDE OR
                                                            CORRECT SENTENCE
14   JESSE FRANCISCO ROSALES,                               (Doc. 129-30)
15                          Defendant.
                                                 /
16
17                                             INTRODUCTION
18          Defendant/petitioner Jesse Francisco Rosales (“defendant”) is a federal prisoner and proceeds
19   pro se to vacate, set aside or correct his sentence pursuant to 28 U.S.C. § 2255 (“section 2255"). This
20   Court considered defendant’s section 2255 petition on the record and denies defendant’s requested relief.
21                                              BACKGROUND
22                                             Charges And Plea
23          The charging document, i.e., the Superseding Indictment, involved one count of conspiracy
24   to distribute methamphetamine and heroin, two counts of distribution of a controlled substance, and
25   one count of possession of methamphetamine with intent to distribute, violations of Title 21, United
26   States Code, Sections 841(a)(1), 841(b)(1)(A), and 846. (Doc. 91.)
27          On the date set for trial, October 15, 2007, defendant entered a change of plea and plead guilty
28   to one count of conspiracy. The government thereafter dismissed counts two, three, and four of the

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        Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 2 of 9


 1   Superceding Indictment. At the time of the change of plea, the Court informed plaintiff that the
 2   maximum penalty was ten years to life. The Court informed defendant that it could not indicate what
 3   his sentence would actually be, but could only tell him what the maximum possible sentence would be.
 4   The Court indicated that it required a presentence report to evaluate the sentence guidelines. The Court
 5   read Count 1 of the superceding indictment to which defendant then plead guilty. The Court accepted
 6   the knowing, intelligent and voluntary waiver of rights and the knowing, intelligent and voluntary
 7   change of plea.
 8                                                Sentencing
 9          This Court conducted a January 4, 2008 sentencing hearing at which defendant acknowledged
10   that he had a chance to review with counsel the Presentence Investigation Report and had no questions.
11   Defense counsel argued the recommendation of 188 months was too severe because it was defendant’s
12   first offense and that the minimum was 120 months. The Court inquired as to the sentences of the
13   codefendants, who were sentenced to lesser time. The Court was informed their sentences were based
14   upon cooperation with the government. The Court noted the offense level at 36, criminal history at I and
15   the Guideline range as 188 months to 235 months. After defendant declined to offer anything further,
16   this Court sentenced defendant to 188 months imprisonment, imposed a special assessment and 60
17   months supervised release.
18                                            Appeal of Sentence
19          On January 8, 2008, defendant filed a notice of appeal to the Ninth Circuit challenging the
20   sentence of the Court. (Doc. 110.) On January 15, 2009, the Ninth Circuit Court of Appeals affirmed
21   the sentence of 188 months. (Doc. 127.)
22                                           Section 2255 Petition
23          On October 28, 2009, defendant filed his section 2255 petition and related papers. The papers
24   claim ineffective assistance of counsel for failing (1) to undertake a more extensive investigation of a
25   prosecution witness (Doc. 130, §2255 petition p. 3), (2) to advise defendant as to the minimum sentence
26   defendant could receive, and (Doc. 130, §2255 petition p.13), (3) to prepare a plea agreement for
27   defendant.
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          Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 3 of 9


 1                                               DISCUSSION
 2                                    Ineffective Assistance Of Counsel
 3          Defendant claims ineffective assistance of counsel. Although his 2255 petition is unclear,
 4   defendant appears to claim that he expected a lower sentence or is disgruntled with his sentence. A
 5   defendant may not be able to “waive a claim of ineffective assistance of counsel based on counsel’s
 6   erroneously unprofessional inducement of the defendant to plead guilty or accept a particular plea
 7   bargain.” United States v. Pruitt, 32 F.3d 431, 433 (9th Cir. 1994). As such, this Court scrutinizes
 8   defendant’s ineffective assistance of counsel claim.
 9   A.     Standards for Ineffective Assistance of Counsel
10          When considering an ineffective assistance of counsel claim, a court must consider two factors.
11   Lockhart v. Fretwell, 506 U.S. 364, 369, 113 S.Ct. 838, 842 (1983); Strickland v. Washington, 466 U.S.
12   668, 687, 104 S.Ct. 2052, 2064 (1984); Lowry v. Lewis, 21 F.3d 344, 346 (9th Cir. 1994), cert. denied,
13   513 U.S. 1001, 115 S.Ct. 513 (1995). The first factor is whether the counsel’s performance fell below
14   an objective standard of reasonableness considering all of the circumstances. Strickland, 466 U.S. at
15   687-688, 104 S.Ct. at 2064; Bloom v. Calderon, 132 F.3d 1267, 1270 (9th Cir. 1997), cert. denied, 494
16   U.S. 1039, 118 S.Ct. 1856 (1998). A defendant must demonstrate that counsel’s performance was
17   deficient and that counsel made errors so serious as not to function as “counsel” guaranteed by the Sixth
18   Amendment. Strickland, 466 U.S. at 687, 104 S.Ct. At 2064. A defendant must identify counsel’s
19   alleged acts or omissions that were not the result of reasonable, professional judgment considering the
20   circumstances. Strickland, 466 U.S. at 690, 104 S.Ct. at 2066; United States v. Quintero-Barraza, 78
21   F.3d 1344, 1348 (9th Cir. 1995), cert. denied, 519 U.S. 848, 117 S.Ct. 135 (1996). There is a strong
22   presumption that counsel’s performance fell within the wide range of professional assistance.
23   Kimmelman v. Morrison, 477 U.S. 365, 381, 106 S.Ct. 2574, 2586 (1986) (quoting Strickland, 466 U.S.
24   at 689, 104 S.Ct. at 2065); Bloom, 132 F.3d at 1270; Hughes v. Borg, 898 F.2d 695, 702 (9th Cir. 1990).
25   Judicial scrutiny of counsel’s performance is highly deferential. Strickland, 466 U.S. at 677-678; 104
26   S.Ct. at 2063; Quintero-Barraza, 78 F.3d at 1348; Sanders v. Ratelle, 21 F.3d 1446, 1456 (9th Cir. 1994).
27          The second factor for court consideration is whether the petitioner has affirmatively proven
28   prejudice. Strickland, 466 U.S. at 693, 104 S.Ct. at 2067; Bloom, 132 F.3d at 1271. Prejudice occurs

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          Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 4 of 9


 1   when “there is a reasonable probability that, but for counsel’s unprofessional errors, the result of the
 2   proceeding would have been different.” Strickland, 466 U.S. at 694, 104 S.Ct. at 2066. A reasonable
 3   probability is “a probability sufficient to undermine the confidence in the outcome.” Strickland, 466
 4   U.S. at 694, 104 S.Ct. at 2066. In addition, the court can find prejudice only when the outcome would
 5   have been different without counsel’s errors. See Lockhart, 506 U.S. at 369-370, 113 S.Ct. at 842-843.
 6   A court must also evaluate whether the entire proceeding was fundamentally unfair or unreliable because
 7   of counsel’s ineffectiveness. See Lockhart, 506 U.S. at 369-370, 113 S.Ct. at 842-843; Quintero-
 8   Barraza, 78 F.3d at 1345; United States v. Palomba, 31 F.3d 1456, 1461 (9th Cir. 1994). A defendant
 9   may be granted a windfall, to which he is not entitled, if his/her conviction or sentence is set aside solely
10   because the outcome may have been different but for counsel’s errors. Lockhart, 506 U.S. at 369-370,
11   113 S.Ct. at 842. Thus, if a court finds that counsel’s performance fell below an objective standard of
12   reasonableness, and that but for counsel’s unprofessional errors, the result of the proceeding would have
13   been different, the court must determine despite the errors and prejudice, whether the proceeding was
14   fundamentally fair and reliable.
15           A court need not determine whether counsel’s performance was deficient before examining the
16   prejudice suffered by the petitioner as a result of the alleged deficiencies. Strickland, 466 U.S. at 697.
17   Since it is necessary to prove prejudice, any deficiency that does not result in prejudice must necessarily
18   fail.
19   B.      Failure to Interview Potential Witnesses and Failure to Use the Testimony at Trial
20           Defendant argues ineffective assistance of counsel for counsel’s failure to conduct an adequate
21   investigation which would have revealed evidence impeaching witness/codefendant Ada Hernandez Elm
22   (“Elm”). Defendant argues that an adequate investigation would have disclosed she was cooperating
23   with the government, was lying because she was the mastermind of the crimes, as opposed to defendant,
24   and that defendant had an alibi.
25           Defense counsel has a "duty to make reasonable investigations or to make a reasonable decision
26   that makes particular investigations unnecessary." Strickland, 466 U.S. at 691, 104 S.Ct. 2052. This
27   includes a duty to investigate the defendant's "most important defense," Sanders v. Ratelle, 21 F.3d at
28   1457, and a duty adequately to investigate and introduce into evidence records that demonstrate factual

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        Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 5 of 9


 1   innocence, or that raise sufficient doubt on that question to undermine confidence in the verdict. Hart
 2   v. Gomez, 174 F.3d 1067, 1070 (9th Cir.), cert. denied, 528 U.S. 92 (1999). However, "the duty to
 3   investigate and prepare a defense is not limitless: it does not necessarily require that every conceivable
 4   witness be interviewed." Hendricks v. Calderon, 70 F.3d 1032, 1040 (9th Cir.1995), cert. denied, 517
 5   U.S. 111 (1996) (citations and quotations omitted). "A claim of failure to interview a witness ... cannot
 6   establish ineffective assistance when the person's account is otherwise fairly known to defense counsel."
 7   Eggleston v. United States, 798 F.2d 374, 376 (9th Cir.1986) (citations and quotations omitted).
 8   Furthermore, "ineffective assistance claims based on a duty to investigate must be considered in light
 9   of the strength of the government's case." Id.
10          In this case, however, defendant cannot assert ineffective assistance of counsel in investigating
11   the case. Defendant waived his pre-plea ineffective assistance of counsel claim when he entered his
12   guilty plea. U.S. v. Lopez-Armenta, 400 F.3d 1173, 1175 (9th Cir. 2005) (it is well-settled that an
13   unconditional guilty plea cures all antecedent constitutional defects), cert. denied, 546 U.S. 891, 126
14   S.Ct. 199, 163 L.Ed.2d 204 (2005) ;United States v. Cortez, 973 F.2d 764, 767 (9th Cir.1992) (holding
15   that guilty plea precluded defendant from challenging pre-plea selective prosecution claim but not from
16   challenging knowing and voluntary character of his plea because of ineffective assistance of counsel);
17   United States v. Bohn, 956 F.2d 208, 209 (9th Cir.1992) (per curiam) (explaining that guilty plea
18   generally waives all claims of a constitutional nature occurring before plea). Indeed, the Supreme Court
19   has declared:
20                   When a criminal defendant has solemnly admitted in open court that he
                     is in fact guilty of the offense with which he is charged, he may not
21                   thereafter raise independent claims relating to the deprivation of
                     constitutional rights that occurred prior to the entry of the guilty plea. He
22                   may only attack the voluntary and intelligent character of the guilty
                     plea....
23
24   Tollett v. Henderson, 411 U.S. 258, 267, 93 S.Ct. 1602, 36 L.Ed.2d 235 (1973). "[A] guilty plea
25   represents a break in the chain of events which has proceeded it in the criminal process[.]" Tollett, 411
26   U.S. at 267, 93 S.Ct. at 1608. Thus, challenges to guilty pleas in the federal habeas context are generally
27   limited to two major issues: (1) whether the plea was voluntary and intelligent; and (2) whether the
28   petitioner received constitutionally adequate assistance of counsel with regard to the plea process. See

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          Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 6 of 9


 1   United States v. Broce, 488 U.S. 563, 569, 109 S.Ct. 757, 762 (1989) ("A plea of guilty and the ensuing
 2   conviction comprehend all of the factual and legal elements necessary to sustain a binding, final
 3   judgment of guilt and a lawful sentence. Accordingly, when the judgment of conviction upon a guilty
 4   plea has become final and the offender seeks to reopen the proceeding, the inquiry is ordinarily confined
 5   to whether the underlying plea was both counseled and voluntary. If the answer is in the affirmative then
 6   the conviction and the plea, as a general rule, foreclose the collateral attack.")
 7           Here, defendant, by entering a plea of guilty, waived his right to have this Court review any
 8   claims which allege constitutional deprivations that occurred prior to the entry of defendant’s guilty plea.
 9   Defendant’s claim that his trial counsel was ineffective relates to trial counsel's conduct in investigating
10   the case, which occurred prior to defendant’s plea of guilty. That pre-plea claim is waived by the guilty
11   plea. Accordingly, defendant has failed to state a cognizable federal habeas claim of ineffective
12   assistance of trial counsel. Tollett, 411 U.S. at 267.
13   C.      Failure to Prepare a Plea Agreement
14           Defendant also argues that the government offered a plea deal for a plea to the conspiracy charge
15   17 months before trial. Defendant argues that defendant’s counsel never did any effort to work on any
16   type of agreement between defendant and the government.
17           Here, however, as noted above, defendant waived his pre-plea ineffective assistance of counsel
18   claims when he entered his guilty plea. See U.S. v. Lopez-Armenta 400 F.3d at 1175 (guilty plea waives
19   of pre-plea constitutional defects); States v. Cortez, 973 F.2d at 767 (same).
20           Defendant’s guilty plea waived his right to assert failure to prepare a plea agreement because the
21   conduct occurred before the guilty plea. This claim does not challenge the voluntary and intelligent
22   character of his guilty plea. It challenges that had counsel engaged in settlement discussions before his
23   guilty plea, defendant may have obtained better sentencing. Defendant’s guilty plea forecloses his claim
24   of “ineffective counsel” in negotiating a better deal at an earlier stage of the proceedings.
25   D.      Court Failed to Advise of the Minimum Sentence
26           Defendant contends that the Court failed to comply with Crim.Rule 11. He claims his guilty plea
27   was not given voluntarily and intelligently because he did not understand that he was pleading to a crime
28   with a minimum ten years sentence. He notes that his trial counsel failed to object that the Court did not

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         Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 7 of 9


 1   advise petitioner of the minimum sentence he could receive, and therefore, resulted in ineffective
 2   assistance of counsel.
 3           “It is well settled that a voluntary and intelligent plea of guilty made by an accused person, who
 4   has been advised by competent counsel, may not be collaterally attacked.” Mabry v. Johnson, 467 U.S.
 5   504, 508-09 (1984). To determine voluntariness, the Court examines the totality of the circumstances.
 6   Iaea v. Sunn, 800 F.2d 861, 866 (9th Cir. 1986). "The voluntariness of [a petitioner's] guilty plea can
 7   be determined only by considering all of the relevant circumstances surrounding it." Brady,392 U.S. at
 8   749. A plea is voluntary if it “represents a voluntary and intelligent choice among alternative courses
 9   of action open to the defendant.” North Carolina v. Alford, 400 U.S. 25, 31 (1970). “[A] plea of guilty
10   entered by one fully aware of the direct consequences...must stand unless induced by threats (or promises
11   to discontinue improper harassment), misrepresentation (including unfulfilled or unfulfillable promises),
12   or perhaps by promises that are by their nature improper as having no proper relationship to the
13   prosecutor’s business (e.g. bribes).” Brady v. United States, 397 U.S. 742, 755 (1970). In sum, “a guilty
14   plea is void if it was ‘induced by promises or threats which deprive it of the character of a voluntary act.”
15   Sanchez v. United States, 50 F.3d 1448, 1454 (9th Cir. 1995) (quoting Machibroda v. United States, 368
16   U.S. 487, 493 (1962)).
17           Defendant cites to a Fifth Circuit case for the proposition that the defendant must be informed
18   of minimum sentence he may receive. The Fifth Circuit concluded that the former Rule 11(c)(1), now
19   Rule 11(b)(1), of the Federal Rules of Criminal Procedure required a court to advise a defendant of any
20   statutorily required minimum sentences which are based on the quantity of drugs involved in the offense.
21   United States v. Watch, 7 F.3d 422, 428 (5th Cir.1993). In Watch, the defendant entered a guilty plea
22   to possession of cocaine with intent to distribute. 7 F.3d at 425. Because the information filed did not
23   include the amount of cocaine involved in the charge, the sentencing court was obligated to inform the
24   defendant that a mandatory minimum of ten years would apply if the amount of cocaine base involved
25   was greater than fifty grams. 7 F.3d at 425, 427. The district court committed error in informing the
26   defendant, through the statements of the Assistant United States Attorney, that he would be subject only
27   to a term of imprisonment between zero and twenty years. 7 F.3d at 427.
28           Rule 11 contains a checklist of consequences that a court must “inform the defendant of, and ...

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         Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 8 of 9


 1   determine that the defendant understands” before accepting a guilty plea. United States v.
 2   Covian-Sandoval, 462 F.3d 1090, 1095 (9th Cir. 2006). One of the consequences is “any mandatory
 3   minimum penalty.” Fed.Crim.11(b)(1)(I). A plea colloquy “satisfying Rule 11's requirements will lead
 4   to a plea being considered knowing and voluntary, unless some misrepresentation or gross
 5   mischaracterization by counsel has tainted the plea.” United States v. Jeronimo, 398 F.3d 1149, 1157
 6   n. 5 (9th Cir. 2005).
 7           Deviations from Rule 11 constitute reversible error only where the defendant's substantial rights
 8   are affected. United States v. Littlejohn, 224 F.3d 960, 965 (9th Cir.2000). See also, United States v.
 9   Siu Kuen Ma, 290 F.3d 1002, 1005 (9th Cir. 2002), stating, with reference to a Rule 11 error, that "[a]
10   'plain error' must be clear and obvious, 'highly prejudicial' and must affect 'substantial rights.' " (quoting
11   United States v. Olano, 507 U.S. 725, 732, 113 S.Ct. 1770 (1993)).
12           To satisfy the prejudice component of “ineffective assistance of counsel” in the context of a
13   guilty plea, the defendant “must show that there is a reasonable probability that, but for counsel's errors,
14   he would not have pleaded guilty and would have insisted on going to trial.” Hill v. Lockhart, 474 U.S.
15   52, 106 S.Ct. 366, 370 (1985); Iaea v. Sunn, 800 F.2d 861, 865 (9th Cir. 1986) (record was replete with
16   evidence that defendant was very reluctant to plead guilty and that defense counsel and Iaea's brother
17   had a great deal of trouble convincing him to do so).
18           Here, the record shows that defendant did not want to go to trial. On the first day of trial,
19   defendant decided to plead guilty and twice confirmed he did not want to be tried. In the colloquy with
20   the Court, and as stated by the prosecutor, defendant was informed of the potential sentence ten years
21   to life. The Court asked defendant if he understood the potential sentence:
22                   COURT:                  Did you understand it
23                   DEFENDANT:              Yes
24                   COURT:                  Do you have any question about it . . .?
25                   DEFENDANT:              Well, the only thing I could ask is to lower the time as much as
26                                           they possible [sic] could. (Doc. 130 §2255 petition p.14.)
27   Here, defendant argues that counsel failed to object because he had not been advised that the minimum
28   sentence was ten years. Nonetheless, in the colloquy, the government stated that the penalty of ten years

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        Case 1:05-cr-00179-LJO Document 131 Filed 11/09/09 Page 9 of 9


 1   to life imprisonment was the range of penalty. Defendant asked for less time. The Court further
 2   explained that the precise range of potential sentence could not stated because the Court needed a
 3   presentence report in which to do the requisite evaluation. Defendant stated that he understood.
 4   Defendant was informed he would be sentenced according to the Sentencing Guidelines which were non
 5   binding. Thus, defendant entered his guilty plea knowing that his range of offense was ten years to life.
 6   Defendant has failed to show that but for counsel’s failure to object, he would not have plead guilty.
 7   Accordingly, he has failed to show ineffective assistance of counsel.
 8                                      CONCLUSION AND ORDER
 9            For the reasons discussed above, this Court DENIES defendant section 2255 relief. The clerk
10   is directed to close Case No. CR F 05-0179 LJO and CV F 09-1895 LJO.
11   IT IS SO ORDERED.
12   Dated:      November 9, 2009                     /s/ Lawrence J. O'Neill
     b9ed48                                       UNITED STATES DISTRICT JUDGE
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